Case: 3:21-cv-00002-MJN-SLO Doc #: 12 Filed: 12/02/21 Page: 1 of 1 PAGEID #: 1387




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

GARY WAYNE SWIM JR.,

        Plaintiff,                                  Case No. 3:21-cv-2

vs.

COMMISSIONER OF SOCIAL SECURITY,                    District Judge Michael J. Newman
                                                    Magistrate Judge Sharon L. Ovington

      Defendant.
______________________________________________________________________________

   ORDER: (1) APPROVING THE PARTIES’ JOINT STIPULATION FOR REMAND
(DOC. NO. 11); (2) REMANDING THIS CASE TO THE COMMISSIONER UNDER THE
   FOURTH SENTENCE OF 42 U.S.C. § 405(g) FOR FURTHER PROCEEDINGS; (3)
  ORDERING THAT THE CLERK ENTER JUDGMENT ACCORDINGLY; AND (4)
                   TERMINATING THIS CASE ON THE DOCKET
______________________________________________________________________________

        This Social Security disability benefits appeal is before the Court on the parties’ joint

stipulation to remand this case to the Commissioner for further administrative proceedings

pursuant to the Fourth Sentence of 42 U.S.C. § 405(g). Doc. No. 11. For good cause shown, and

absent opposition, IT IS ORDERED THAT: (1) the ALJ’s non-disability finding is unsupported

by substantial evidence, and the parties’ joint stipulation for a remand (Doc. No. 11) is

APPROVED; (2) this case is REMANDED to the Commissioner under the Fourth Sentence of

42 U.S.C. § 405(g) for further proceedings; and (3) this case is TERMINATED on the docket.

The Clerk is ORDERED to enter judgment accordingly.

        IT IS SO ORDERED.

Date:   December 2, 2021                            s/ Michael J. Newman
                                                    Hon. Michael J. Newman
                                                    United States District Judge
